    18-13359-shl               Doc 1831             Filed 08/28/20 Entered 08/28/20 12:50:04                                      Main Document
                                                                 Pg 1 of 6




IN RE:      Miami Metals I, Inc.                                             }            CHAPTER 11
                                                                             }
                                                                             }            JUDGE The Honorable Sean H. Lane
                                                                             }
            DEBTOR.                                                          }            Case No. 18-13359 (SHL)




                                          MIAMI METALS I, INC. POST-CONFIRMATION
                                              QUARTERLY OPERATING REPORT
                                                    FOR THE PERIOD
                          FROM                     April 1, 2020                 TO       June 30, 2020



This Post-Confirmation Quarterly Operating Report is filed in accordance with the Guidelines established by the United States Trustee and FRBP
2015.

In accordance with 28 U.S.C. Section 1746, I declare under penalty of perjury that I have examined the information contained in this report
and it is true and correct to the best of my knowledge.




Signed::    /s/ Donna H. Lieberman                                                        Date:       July 20, 2020

            Donna H. Lieberman, Esq.
            Print Name

            Miami Metals Litigation Trustee
            Title



            MIAMI METALS LITIGATION TRUSTEE                                               COUNSEL TO DONNA H. LIEBERMAN,
                                                                                          IN HER CAPACITY AS LITIGATION TRUSTEE
            Donna H. Lieberman, Esq.
            Halperin Battaglia Benzija, LLP                                               Paul J. Springer, Esq.
            40 Wall Street, 37th Floor                                                    Cooley LLP
            New York, NY 10005                                                            55 Hudson Yards
            (212) 765-9100                                                                New York, NY 10001-2157
                                                                                          (212) 479 -6000




1
  By order entered on December 23, 2019 (the “Confirmation Order”), the Bankruptcy Court confirmed the Modified Second Amended Joint Plan of
Liquidation of Miami Metals I, Inc. and its Subsidiaries Under Chapter 11 of the U.S. Bankruptcy Code (the “Plan”), which provided for, among other
things, the orderly wind-down of Miami Metals I, Inc. et al (the “Debtors”) and the creation of the Miami Metals Litigation Trust. The Plan became
effective on January 7, 2020. The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number,
included: Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites 206 and 209, New York, NY 10036 (3194);
Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th Avenue, Miami, FL 33054 (4378); Miami Metals III LLC (f/k/a Republic
Carbon Company), 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833); Miami Metals IV LLC (f/k/a J & L Republic LLC), 12900 NW
38th Avenue, Miami, FL 33054 (7604); Miami Metals V LLC (f/k/a R & R Metals, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (7848); Miami
Metals VI LLC (f/k/a RMC Diamonds, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (1507); Miami Metals VII LLC (f/k/a RMC2, LLC), 12900
NW 38th Avenue, Miami, FL 33054 (4696); Miami Metals VIII LLC (f/k/a Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL
33054 (6102), and 12900 NW 38th Avenue, Miami, FL 33054 (1507). In accordance with Docket #1746, Final Decree (I) Closing Subsidiary Cases
and (II) Granting Related Relief, all cases except Miami Metals I, Inc. ("Remaining Case") were closed on April 3, 2020.



                                                                          Page 1 of 6
18-13359-shl        Doc 1831       Filed 08/28/20 Entered 08/28/20 12:50:04                      Main Document
                                                Pg 2 of 6
Quarterly Operating Report                                                          Case No. 18-13359 (SHL)
Miami Metals I, Inc., et al                                          Reporting Period April 1 to June 30, 2020

By order entered on December 23, 2019 (the “Confirmation Order”), the Bankruptcy Court confirmed the
Modified Second Amended Joint Plan of Liquidation of Miami Metals I, Inc. and its Subsidiaries Under
Chapter 11 of the U.S. Bankruptcy Code (the “Plan”), which provided for, among other things, the
orderly wind-down of Miami Metals I, Inc. et al (the “Debtors”), the substantive consolidation of the
Debtors, and the transfer of certain assets, including claims and causes of action, to the Miami Metals
Litigation Trust upon the effective date of the Plan. The Plan became effective on January 7, 2020.

This report includes the activity of the following entities for the quarter ended June 30, 2020 and the post
emergence period January 8, 2020 to June 30, 20201:

    Entity                                                             Case Number         Case Closed
    Miami Metals Litigation Trust                                      N/A
    Miami Metals I, Inc. (f/k/a Republic Metals Refining               18-13359
    Corporation)


Notes to the Quarterly Operating Report:
(1)     The financial information contained herein is presented on a preliminary and unaudited basis and
        remains subject to adjustments.
(2)     This Quarterly Operating Report (“QOR”) has been prepared solely for the purpose of complying
        with the reporting requirements applicable in the bankruptcy cases and is in a format acceptable
        to the U.S. Trustee.
(3)     The combined unaudited financial statements contained herein have been derived from the books
        and records of Miami Metals I, Inc. and the Miami Metals Litigation Trust. The quarterly
        financial information is unaudited and limited in scope and the information has not been subject
        to the same level of accounting review and testing that applies to the preparation of quarterly and
        annual financial information in accordance with U.S. Generally Accepted Accounting Principles
        (“GAAP”). Accordingly, upon application of such procedures, the Litigation Trustee believes
        that the financial information may be subject to change and that these changes could be material.
(4)     The QOR is for the Post-Confirmation Period January 8, 2020 to June 30, 2020 and excludes any
        receipts and disbursements received or made prior to the Effective Date.




1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, included: Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites
206 and 209, New York, NY 10036 (3194); Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW
38th Avenue, Miami, FL 33054 (4378); Miami Metals III LLC (f/k/a Republic Carbon Company), 5295 Northwest
163rd Street, Miami Gardens, FL 33014 (5833); Miami Metals IV LLC (f/k/a J & L Republic LLC), 12900 NW
38th Avenue, Miami, FL 33054 (7604); Miami Metals V LLC (f/k/a R & R Metals, LLC), 12900 NW 38th Avenue,
Miami, FL 33054 (7848); Miami Metals VI LLC (f/k/a RMC Diamonds, LLC), 12900 NW 38th Avenue, Miami, FL
33054 (1507); Miami Metals VII LLC (f/k/a RMC2, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (4696);
Miami Metals VIII LLC (f/k/a Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054 (6102),
and 12900 NW 38th Avenue, Miami, FL 33054 (1507). In accordance with Docket #1746, Final Decree (I) Closing
Subsidiary Cases and (II) Granting Related Relief, all cases except Miami Metals I, Inc. ("Remaining Case") were
closed on April 3, 2020.


                                                    Page 2 of 6
18-13359-shl      Doc 1831       Filed 08/28/20 Entered 08/28/20 12:50:04                Main Document
                                              Pg 3 of 6
  STATEMENT OF LIMITATIONS AND DISCLAIMER REGARDING MIAMI METALS I, INC.
                      QUARTERLY OPERATING REPORT




Upon the effective date of the Plan and pursuant to the Confirmation Order, Donna H Lieberman, Esq.
was appointed to serve as the Litigation Trustee of the Miami Metals Litigation Trust. Pursuant to the
Plan and Confirmation Order, the Litigation Trustee has prepared this QOR as the authorized signatory of
the Litigation Trust.

The QOR does not purport to represent financial statements prepared in accordance with Generally
Accepted Accounting Principles in the United States (“US GAAP”), nor is it intended to be fully
reconciled with the Financial Statements of each Debtor and the Litigation Trust. Additionally, the QOR
contains unaudited information that is subject to further review and potential adjustment.

In preparing the QOR, the Litigation Trust relied upon financial data derived from the Debtors’ and the
Litigation Trust’s books and records that were available at the time of such preparation. Although
reasonable efforts were made to ensure the accuracy and completeness of such financial information,
inadvertent errors or omissions, as well as the discovery of conflicting, revised or subsequent information
may cause a material change to the QOR.

Accordingly, all rights are reserved to amend, supplement or otherwise modify the QOR as is necessary
and appropriate. Notwithstanding the foregoing, the Litigation Trustee shall not be required to update the
QOR.




                                                Page 3 of 6
      18-13359-shl                 Doc 1831              Filed 08/28/20 Entered 08/28/20 12:50:04                              Main Document
                                                                      Pg 4 of 6


                                                          QUESTIONNAIRE
                                                                                                                     YES*             NO
1.    Have any assets been sold or transferred outside the normal course of business, or
      outside the Plan of Reorganization during this reporting period?                                                                X
2.    Are any post-confirmation sales or payroll taxes past due?
                                                                                                                                      X
3.    Are any amounts owed to post-confirmation creditors/vendors over 90 days
      delinquent?                                                                                                                     X
4.    Is the Trust current on all post-confirmation plan payments?
                                                                                                                       X

            *If the answer to any of the above questions is "YES," provide a detailed explanation of each item on a separate sheet.




                                         INSURANCE INFORMATION (SEE NOTE)
                                                                                                                      YES             NO*
1.    Are real and personal property, vehicle/auto, general liability, fire, theft, worker's
      compensation, and other necessary insurance coverages in effect?                                                                X
2.    Are all premium payments current?
                                                                                                                                     X
       *If the answer to any of the above questions is "NO," provide a detailed explanation of each item on a separate sheet (see Note)




                                                          CONFIRMATION OF INSURANCE (SEE NOTE)
                                                                                                                      Payment Amount        Delinquency
                    TYPE of POLICY              and            CARRIER                          Period of Coverage     and Frequency         Amount
                                                                                                                                                    -

                                                                                                                                                    -


NOTE:
The Trust has only cash assets and causes of action, and does not maintain insurance




                    DESCRIBE PERTINENT DEVELOPMENTS, EVENTS, AND MATTERS DURING THIS REPORTING PERIOD:
                         During the quarter, the Litigation Trustee performed the following activities:
                         - Continued the process of soliciting claimant tax identification numbers ("TINs");
                         - Investigation and analysis of causes of action;
                         - Coordination of preference demands with special counsel to the Trust;
                         - Effectuated the first interim distribution to Allowed 503 b 9 Claims;
                         - Effectuated distributions to Allowed Convenience Class Claims, who supplied TINs;
                         - Filed Litigation Trustee's First Omnibus Objection to Certain Asserted Claims;
                         - Continued resolving 503 b 9 Claims; and,
                         - General case administration.




     Estimated Date of Filing the Application for Final Decree: To be Determined




                                                                                  Page 4 of 6
     18-13359-shl               Doc 1831            Filed 08/28/20 Entered 08/28/20 12:50:04                                           Main Document
                                                                 Pg 5 of 6

SCHEDULE OF RECEIPTS AND DISBURSEMENTS
In Re  MIAMI METALS I, INC. et al                                         Case No. 18-13359 (SHL)
                                                                  Reporting Period April 1 to June 30, 2020


                                                                             Current Period            Post Confirmation Total Jan
                                                                         April 1 to June 30, 2020        8, 2020 to June 30, 2020

Cash, Beginning of Period                                            $      7,242,778                  $             -

Receipts
Interest Income                                                                 8,173                             26,299
Avoidance Actions                                                                 -                                  -
Other Receipts                                                                    -                                  -
Intrabank transfers (Note 1)                                                  300,000                          7,913,032

Total Receipts                                                                308,173                          7,939,331

Disbursements
Operating Disbursements
US Trustee Fees                                                                 8,079                              8,079
Federal Taxes                                                                     -                                  -
State Taxes                                                                       -                                  -
Other Taxes                                                                       -                                  -

Post-Emergence Expenses                                                           -                                  -
Insurance                                                                         -                                  -
Trustee Bond                                                                      -                                  -
Other Operating Expenses                                                       51,514                             51,514
                                                                                                                     -
Prof. Fees - Trustee                                                           78,860                            138,465
Other Legal Fees                                                            1,798,679                          2,115,059
Prof. Fees - Accounting/Tax                                                     5,580                              7,535
E-Records Maintenance                                                             -                                3,063
Prof Fees - Other                                                              17,637                             25,017

Plan Payments
Administrative Claims                                                             -                                  -
Priority Tax Claims                                                               -                                  -
Secured Claims                                                                    -                                  -
Priority Non-Tax Claims                                                     2,117,625                          2,117,625
General Unsecured Creditors                                                    37,944                             37,944

Intrabank Transfers                                                               -                                  -

Total Disbursements                                                         4,115,919                          4,504,300

Net Cash Flow                                                              (3,807,746)                         3,435,031

Cash - End of Month                                                  $      3,435,031                  $       3,435,031




THE FOLLOWING SECTION MUST BE COMPLETED
DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES:
In re:  MIAMI METALS I, INC. et al
Case #  18-13359 (SHL)                              Total
Total Disbursements                                                         4,115,919
 Less Intrabank transfers                                                         -

Total Disbursements For Calculating U.S. Trustee Quarterly Fees             4,115,919




Note 1:
As outlined in the Declaration of Disbursements (Docket #1688), from January 1 to the Effective date, the Debtors disbursed
$7,405,894, which included the transfer of $7,363,031 to the Miami Metals Litigation Trust. In addition, the Trust received $550,000
from excess reserves held by the Paladin Group, the Chief Restructuring Officer of the Debtors.



                                                                            Page 5 of 6
     18-13359-shl                 Doc 1831            Filed 08/28/20 Entered 08/28/20 12:50:04                                   Main Document
                                                                   Pg 6 of 6

SCHEDULE OF BANK ACCOUNT BALANCES

In Re               MIAMI METALS I, INC. et al                                                        Case No. 18-13359 (SHL)
                                                                                              Reporting Period AS OF June 30, 2020




                                                              Account          Bank Account                                     Other Rec Items
        Case #              Debtor          Bank Name       Type/Purpose        Ending In:      Bank Balance    OS Checks          (Note 1)     Book Balance

18-13359 (SHL)                             Signature Bank   503 b 9 Reserve        2835             1,896,867                                         1,896,867
                         Miami Metals
18-13359 (SHL)                             Signature Bank   General Account        2843             1,541,164                           (3,000)       1,538,164
                        Litigation Trust
18-13359 (SHL)                             Signature Bank      Checking            2851                 5,902         (8,902)            3,000              -




Total - Cash Accounts                                                                           $   3,443,934   $     (8,902) $            -      $   3,435,031
                                                                                                $         -     $        -    $            -      $         -




                                                                         Page 6 of 6
